Case 1:05-cv-OlO72-.]DT-STA Document 18 Filed 05/23/05 Page 1 of 6 Pa e|D 4

IN THE UNITED sTATEs DISTRICT COURT 053/fy _ _
FOR THE WESTERN DIsTRICT oF TENNESSEE _

EASTERN DIVISION

JOE F. JENKINS and JOAN J. JENKINS,
Plaintiffs,

)
)
)
)
VS. ) No. 1-05-1072-T-An
)
ALDERMAN GREG HORTON, JIM )
PILLOW, GEORGE KILLEBREW, )
individually and his official capacity, )
and THE CITY OF MILAN, TENNESSEE.)
)
)

Defendants.

 

ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS STATE LAW
CLAIMS

 

Plaintiffs Joe and J can Jenkins brought this action against Defcndants Alderman Greg
Horton; Jim Pillow, former Building Inspector; George Killebrew, Mayor of the City of
Milan; and the City of Milan, Tennessee. Plaintiffs allege that Defendants are liable under
42 U.S.C. § 1985 for violating Mr. Jenkins’ rights under the First, Fourth, and Fourteenth
Amendrnents to the United Statcs Constitution. Plaintiffs also bring claims of malicious
prosecution, false imprisonment, conversion, intentional infliction of emotional distress,
trespassing, and loss of consortium pursuant to state law. Defendants seek dismissal of
Plaintiffs’ § 1985 claims and Plaintiffs’ state law claims. Plaintiffs have agreed to dismiss

their § 1985 claims and an order to dismiss these claims is being circulated. At issue in this

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with Rule 58 and.'or_TS (a) FRGP on

 

Case 1:05-cv-01072-.]DT-STA Document 18 Filed 05/23/05 Page 2 of 6 Page|D 5

order is whether the district court Will retain jurisdiction over Plaintiffs’ state law claims.

Plaintiffs bring state law tort claims pursuant to the Tennessee Governmental Tort
Liability Act (TGTLA), TENN. CODE ANN. § 29-20-201 et seq., invoking the court’s
supplemental jurisdiction Defendants contend that Plaintiffs’ tort claims should be
dismissed because under the TGTLA, the circuit courts of Tennessee have exclusive
jurisdiction over such claims. Plaintiffs’ § 1985 claims would ordinarily confer
supplemental jurisdiction over the TGTLA claims because they arise out of the same facts
and form part of the same case or controversy S_ee 28 U.S.C. § 1367(a). However, TGTLA
claims must be brought in “strict compliance” With the terms of the Act. TENN. CODE ANN.
§ 29-20-201(c). The TGTLA gives the state circuit courts exclusive original jurisdiction
over claims brought pursuant to its provisions. § 29-20-307.

In Beddingfleld v. City of Pulaski, 666 F. Supp. 1064 (M.D. Tenn. 1987), rev’d on
other grounds, 861 F.2d 968 (6th Cir. 1988), the court held that the Act’s exclusive grant of
jurisdiction to the state circuit courts precluded the federal court’s exercise of supplemental
jurisdiction over TGTLA claims. The court reasoned that when such supplemental state law
claims involve neither federal law nor federal diversity jurisdiction, no Supremacy Clause
interests are implicated Therefore, federal courts Would appear obligated to apply the
TGTLA limitations on suability as a matter of state substantive law. w Fromuth v.
Metropolitan Gov’t of Nashville, 158 F. Supp. 2d 787, 798 (M.D. Tenn. 2001); c_f.

Timberlake v. Benton, 786 F. Supp. 676, 696-97 (M.D. Tenn. 1992) (dismissing City and

Case 1:05-cv-01072-.]DT-STA Document 18 Filed 05/23/05 Page 3 of 6 Page|D 6

officers in their official capacities pursuant to Beddingfield but declining to apply the
holding to the officers in their individual capacities).

In addition, a federal district court may, in its discretion, decline supplemental
jurisdiction over a state law claim, even if jurisdiction would otherwise be proper under 28
U.S.C. § 1367(a). Section 1367(c)(4) allows a district court to “decline to exercise
supplemental jurisdiction over a claim under subsection (a) if . . . (4) in exceptional
circumstances, there are other compelling reasons for declining jurisdiction.” Plaintiffs
argue, however, that the court should follow Malone v. Favette Countv. 86 F. Supp. 2d 797
(W.D. Tenn. 2000), in Which it was held that the exclusivity provisions of the TGTLA are
not sufficient reason to decline jurisdiction under § 1367(0). However, the Court oprpeals
for the Sixth Circuit has held otherwise

In Gregory v. Shelby County, Tenn., 220 F.3d 433 (6"‘ Cir. 2000), the Court of
Appeals affirmed the district court’s dismissal of the TGTLA claims, stating, “[i]n this
instancc, the Tennessee legislature expressed a clear preference that TGTLA claims be
handled by its own state courts. This unequivocal preference of the Tennessee legislature

is an exceptional circumstance for declining jurisdiction.” l_tL at 446. See also Maxwell v.

 

Conn, No. 89-5060, 1990 WL 2774 (6th Cir. Jan. 18, 1990) (TGTLA’s grant of exclusive

 

jurisdiction to the state courts “belied” plaintiffs argument that he could expect to try the
TGTLA claims in the same proceeding as his federal claims); Spurlock v. Whitley, 971 F.

supp. 1166, 1185 (M.D. Tenn. 1997).

Case 1:05-cv-01072-.]DT-STA Document 18 Filed 05/23/05 Page 4 of 6 Page|D 7

This court has accepted supplemental jurisdiction over TGTLA claims only in the
very limited situation where an action is timely filed by the plaintiff in state court, but is then
removed to this court by the defendants, and the plaintiff" s statute of limitations has run so
that the claims cannot be refiled in state court. See Davis v. Hardin Countv, #99-1218
(W.D. Tenn. Oct. 23, 2001) (granting a motion to reconsider and reinstating TGTLA
claims). This case, however, Was not filed by Plaintiffs in state court, but was filed in this
court as an original action. Subsequent to filing the complaint, Plaintiffs have agreed to
dismiss their federal claim. Under these circumstances, the court declines to accept
supplemental jurisdiction over the Plaintiffs’ TGTLA claims.

Plaintiffs also argue that not all of their state law claims are brought under the
TGTLA. In particular, Plaintift`s argue that Killebrew is sued both in his individual capacity
and his official capacity, thus, the claims brought against Killebrew in his individual
capacity are non-TGTLA claims and may be brought in federal court.

Under certain circumstances, a federal district court may decline supplemental
jurisdiction over a state law claim even if jurisdiction would otherwise be proper. Pursuant
to 28 U.S.C. § l367(c):

The district courts may decline supplemental jurisdiction over a claim under

subsection (a) if_

(3) the district court has dismissed all claims over which it
has original jurisdiction,....

§ 1367(c)(3). As Plaintiffs have agreed to dismiss their § 1985 claims, this court declines

Case 1:05-cv-01072-.]DT-STA Document 18 Filed 05/23/05 Page 5 of 6 Page|D 8

to accept supplemental jurisdiction over Plaintif`fs’ non-TGTLA claims.
Therefore, the state law claims against all Defendants are hereby DISMISSED
pursuant to 28 U.S.C. § 1367(c)(3)-(4).

IT IS SO ORDERED.

%DM

D. TODD
ED STATES DISTRICT JUDGE

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Honorable J ames Todd
US DISTRICT COURT

